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                     Exhibit A
             Case 3:16-cv-02914-BEN-JLB Document 1-2 Filed 11/30/16 PageID.8 Page 2 of 5

                                                                                                                                                            PLD -PI -001
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Slate Bar number, and address)"                                            FOR COURT USE ONLY
_MICHAEL D_ PADILLA, SBN 67060

                                                                                                                       t~ i , r- f'
 JEFFREY M_ PADILLA, SBN 239693                                                                                                                                                   r---.
 o 'MARA & PADILLA                                                                                                                 ,
                                                                                                                                   q
                                                                                                                                 _-J           :r-                                I:),
                                                                                                                                                                                  \: (,J
 320 Encinitas Blvd _ , Suite A                                                                                                        "
                                                                                                                                               01#;..-.""    ._~




 Encinitas, CA 92024                                                                                                         ..-                   - ,.,;\' ;SlON
             TELEPHONE NO     858-481-5454     FAX NO. (Optional):
                              padilla@oplawfirm. com
                                                                   858-720-9797
                                                                                                                       1 r             '   ,

                                                                                                                                                                                 \ '   )
E-MAIL ADDRESS (Optional):
                                                                                                                    lOlh OCT , I A q: 51
    ATIORNEYFOR(N,m,) Plaintiffs BROCK MATHIS/MICHELLE MATHIS
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
                                                                                                                    CLERK-SUPERIOR COURT
                                                                                                                                                                                 -J
                                                                                                                                                                                 ~
     STREET ADDRESS: 325 South Melrose Drive
    MAILING· ADDRESS: vi sta, CA 92081
                                                                                                                    SAH DIEGO COUNTY. CA
        CITY AND ZIP CODE:
             BRANCH NAME:NORTH COUNTY DIVISION
              PLAINTIFF: BROCK MATHIS and MICHELLE MATHIS


      DEFENDANT MILGARD MANUFACTURING,                                  INC.   dba MILGARD
  WINDOWS AND DOORS; and

   u:u DOES 1 TO              20
 COMPLAINT-Personal Injury, Property Damage, Wrongful Death
        D AMENDED (Number):
 Type (check all that apply):
  D MOTOR VEHICLE                             D
                                          OTHER (specify):
             DProperty Damage                     D
                                             Wrongful Death
             u:u
              Personal Injury                     u:u
                                             Other Damages (specify): PRODUCTS
  LIABILITY
 Jurisdiction (check all that apply):
  D ACTION IS A LIMITED CIVIL CASE
        Amount demanded                  B
                                       does not exceed $10,000
                                      exceeds $10,000, but does not exceed $25,000
                                                                                                           CASE NUMBER:




   u:u  ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
                                                                                                       3 -2016-00035335-CU_PL_NC
   D    ACTION IS RECLASSIFIED by this amended complaint
             D from limited to unlimited
             D from unlimited to limited
  1. Plaintiff (name ornames):BROCK MATHIS and MICHELLE MATHIS

     alleges causes of action against defendant (name or names): MILGARD MANUFACTURING,                             INC.      dba MILGARD
     WINDOWS AND DOORS, et al,
  2. This pleading, including attachments and exhibits, consists of the following number of pages: 5
  3. Each plaintiff named above is a competent adult
     a.      Dexcept plaintiff (name):
        (1) D       a corporation qualified to do business in California
        (2) D       an unincorporated entity (describe):
        (3)         D
                    a public entity (describe):
        (4)         D
                    aminor           Dan adult
             (a)          D
                        for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
             (b) D      other (specify).
        (5) D       other (specify):

        b.   D       except plaintiff (name):
             (1)   D     a corporation qualified to do business in California
             (2)   D    an unincorporated entity (describe):
             (3)   D       a public entity (descnbe)
             (4)    D      a minor       D      an adult
                    (a)   D    for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                    (b)   D    other (specify):
             (5)   D       other (specify):


         D         Information about additional plaintiffs who are not competent adults is shown in Attachment 3.
                                                                                                                                                                   Page 1 of J
 Form Approved for Optional Use
   Judicial Council of California
                                                        COMPLAINT-Personal Injury, Property                Legal               Code of Civil Procedure, § 425.12

PlD-PI-001 [Rev. January 1, 200?}                           Damage, Wrongful Death                       Solutlons'
                                                                                                           1:0, Plus
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                                                                                                                                            PLD-PI-001
  SHORT TITLE: MATHIS v.                  MILGARD MANUF.,            INC.,       et al.                                CASE NUMBER:




   4.    D     Plaintiff (name):
               is doing business under the fictitious name (specify):

               and has complied with the fictitious business name laws.
   5.    Each defendant named above is a natural person
         a.   W  except defendant (name): MILGARD                                  c.   D      except defendant (name):
             MANUFACTURING, INC. dba MILGARD
             WINDOWS AND DOORS
              (1)    D a business organization, form unknown                            (1)   D     a business organization, form unknown
              (2) [)iJ a corporation                                                    (2)   D     a corporation
              (3) D    an unincorporated entity (describe):                             (3)   D     an unincorporated entity (describe):

              (4)    D     a public entity (describe):                                  (4)   D     a public entity (describe):

              (5)    D     other (specify):                                             (5)   D     other (specify):



         b.   W        except defendant (name):      DOES 10       to 20           d.   D         except defendant (name):



              (1 ) [)iJ a business organization, form unknown                           (1)   t=J   a business organization, form unknown
              (2) D a corporation                                                       (2)   D     a corporation
              (3)    D     an unincorporated entity (describe):                         (3)   D     an unincorporated entity (describe):


              (4)    D     a public entity (describe):                                  (4)   D     a public entity (describe):

              (5)    D     other (specify):                                             (5)   D     other (specify):




          c:::::J Information about additional defendants who are not natural persons is contained in Attachment 5.
   6.    The true names of defendants sued as Does are unknown to plaintiff.
         a.   uu       Doe defendants (specify Doe numbers): 1 -         20                             were the agents or employees of other
                       named defendants and acted within the scope of that agency or employment.

         b.   W        Doe defendants (specify Doe numbers): 1 - 20                           are persons whose capacities are unknown to
                       plaintiff.
   7.    D          Defendants who are joined under Code of Civil Procedure section 382 are (names):




   8.    This court is the proper court because
         a. [::=J at least one defendant now resides in its jurisdictional area.
         b. t=J the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
         c.    [ZJ     injury to person or damage to personal property occurred in its jurisdictional area.
         d.    D       other (specify):




    9.   D          Plaintiff is required to comply with a claims statute, and
         a.    D       has complied with applicable claims statutes, or
         b.    D       is excused from complying because (specify):




PlD-PI-001[Rev. January 1, 2007J                                                                                                                Page 2 of J
                                                         COMPLAINT-Personal Injury, Property
                                                              Damage, Wrongful Death
      Case 3:16-cv-02914-BEN-JLB Document 1-2 Filed 11/30/16 PageID.10 Page 4 of 5

                                                                                                                                      PLD-PI-001
  SHORTTITLE:MATHIS V.                    MILGARD MANUF.,       INC.,     et al.                           CASE NUMBER:




10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
      causes of action attached):
      a. D    Motor Vehicle
      b.   W  General Negligence
      c. D    Intentional Tort
      d.   W  Products Liability
      e.   D  Premises Liability
      f. D    Other (specify):




11. Plaintiff has suffered
    a.     W   wage loss
    b. D       loss of use of property
    c.     W   hospital and medical expenses
    d.     W   general damage
    e. D       property damage
    f.     W   loss of earning capacity
    g.     W   other damage (specify): Loss of Consortium as to Plaintiff MICHELLE MATHIS




12.   D         The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
       D
      a.         listed in Atiachment 12.
      b.   D     as follows:




13. The relief sought in this complaint is within the jurisdiction of this court.



14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
      a. (1)      uu
                  compensatory damages
         (2)      D
                  punitive damages
         The amount of damages is (in cases for personal injury or wrongful death, you must check (1)):
         (1)      uu
                  according to proof
         (2) D    in the amount of: $


15.   D        The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




Date:      October              t ,   2016



MICHAEL D.                 PADILLA
                          (TYPE OR PRINT NAME)                                                    GNATURE OF PLAINTIFF OR ATIORNEY)

                                                                                                                                          Page 3 of 3
PLD-PI-001 [Rev, January 1, 2007]                COMPLAINT-Personal Injury, Property
                                                      Damage, Wrongful Death
     Case 3:16-cv-02914-BEN-JLB Document 1-2 Filed 11/30/16 PageID.11 Page 5 of 5

                                                                                                                                              PLD·PI-001 (5)
SHORT TITLE:         MATHIS            v. MILGARD MANUF., INC., et al.                                              CASE NUMBER:




     .c.F."-I""R"'-ST"----,---,--,-_ _ _ CAUSE OF ACTION-Products Liability                                                  Page ",4_ __
                    (number)

    ATTACHMENT TO [iLl Complaint D Cross-Complaint
    (Use a separate cause of act;on form for each cause of acUon.)
     Plaintiff (name):           BROCK MATHI Sand MI CHELLE MATHI S


     Prod. L-1. On or about (date): May 31, 2016                                       plaintiff was injured by the following product:
                Milgard Ultra Fiberglass 123"                                   x 60" clear tampered window




     Prod. L-2. Each of the defendants knew the product would be purchased and used without inspection for defects.
                The product was defective when it left the control of each defendant. The product at the time of injury
                was being
                [XJ used in the manner intended by the defendants.
                I..Kl used in a manner that was reasonably foreseeable by defendants as involving a substantial danger not
                        readily apparent. Adequate warnings of the danger were not given.
     Prod. L-3. Plaintiff was a
                [XJ purchaser of the product.                                                   D
                                                                                       user of the product.
                D bystander to the use of the product.                                          D
                                                                                       other (specify):

     PLAINTIFF'S INJURY WAS THE LEGAL (PROXIMATE) RESULT OF THE FOLLOWING:
     Prod. L-4. [XJ Count One--Strict liability of the following defendants who
                    a. [iLl manufactured or assembled the product (names): MILGARD MANUFACTURING,                                           INC.        and


                                                 [XJ Does 1          to~5,--_ _
                            b.   D          designed and manufactured component parts supplied to the manufacturer (names):


                                                D     Does _ _ _ to _ _ __
                            c.   D          sold the product to the public (names):



                                                D     Does              to' _ _ __
     Prod. L-5.      [XJ Count Two--Negligence of the following defendants who owed a duty to plaintiff (names):
                        MILGARD MANUFACTURING,                         INC.    and

                                    [iLl Does 1           to,,,,5--::...,,--:-
     Prod. L-6.      [)U Count Three--Breach of warranty by the following defendants                (names): MILGARD MANUFACTURING,
                        INC.         and
                                        [iLl Does 1             to~5,--_ _
                            a. [)U who breached an implied warranty
                            b. D who breached an express warranty which was
                                   D written D oral
     Prod. L-7.      D      The defendants who are liable to plaintiffs for other reasons and the reasons for the liability are
                            D       listed in Attachment-Prod. L-7       D    as follows:




                                                                                                                                                        Page 1 of 1
     Form Approved for Optional Use
      Judicial Council of California
                                                        CAUSE OF ACTION-Products Liability                          Legal          Code of Civil Procedure, § 425.12

    PlO-Pi-DOl (5) [Rev. January 1, 2007]
                                                                                                                  Solutions'
                                                                                                                    1'.0. Plus
